



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-161-CV





AMADO RODRIGUEZ	APPELLANT



V.



JAMES STEPHENS AND MARY STEPHENS 	APPELLEES



----------



FROM THE 348
TH
 DISTRICT COURT OF TARRANT COUNTY



----------



MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

------------

On May 12, 2005 and June 2, 2005, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P. 
42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).



PER CURIAM





PANEL D:	DAUPHINOT, HOLMAN and GARDNER, JJ.



DELIVERED: June 23, 2005



FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.


2:July 21, 1998 Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals, 
reprinted in
 
Appendix to the Texas Rules of Appellate Procedure
 (Vernon 2002).




